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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS DIVISION

 CENTRAL ILLINOIS CARPENTERS
 HEALTH AND WELFARE TRUST FUND,
 By and Through Its Board of Trustees, and

 CARPENTERS PENSION FUND OF
 ILLINOIS, By and Through Its Board of
 Trustees,

         Plaintiffs,                                     Cause No. 20-461

 v.

 ZOIE LLC,

         Defendant.

                                           COMPLAINT

        COME NOW Plaintiffs, CENTRAL ILLINOIS CARPENTERS HEALTH AND WELFARE

TRUST FUND and CARPENTERS PENSION FUND OF ILLINOIS, by undersigned Counsel, and

state as follows for their Complaint against Defendant, ZOIE LLC:

                                               Parties

         1.      Plaintiff Central Illinois Carpenters Health and Welfare Fund (hereinafter “Welfare

 Fund”) is an “employee welfare benefit plan” within the meaning of section 3(1) of the Employee

 Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. § 1002(1). Welfare

 Fund’s Board of Trustees are fiduciaries within the meaning of section 3(21)(A) of ERISA, 29

 U.S.C. § 1002(21)(A), and are authorized to maintain this cause of action pursuant to Section

 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3).

         2.      Welfare Fund is administered at Lincoln, Logan County, Illinois.
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        3.      Welfare Fund is the designated collection agent for contributions to certain unions,

 dues, dues check-off and other collectively-bargained funds within the territorial jurisdiction of

 the Chicago Regional Council of Carpenters, Southern Region (“Regional Council”).

       4.       Plaintiff Carpenters Pension Fund of Illinois (hereinafter “Pension Fund”) is an

“employee pension benefit plan” within the meaning of section 3(2)(A) of ERISA, 29 U.S.C. §

1002(2)(A). Pension Fund is a “defined benefit plan” within the meaning of § 3(35) of ERISA, 29

U.S.C. § 1002(35). Pension Fund’s Board of Trustees are fiduciaries within the meaning of Section

3(21)(A) of ERISA, 29 U.S.C. §§ 1002(21)(A), and are authorized to maintain this cause of action

pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3).

       5.       Pension is administered at Downers Grove, DuPage County, Illinois.

       6.       Together, Welfare Fund and Pension Fund shall be referred to as “Plaintiff Funds.”

       7.       Defendant ZOIE LLC (“ZOIE LLC”) is an Illinois Limited Liability Company in

good standing, maintaining its principal place of business in, or around East St. Louis, St. Clair

County, Illinois.

        8.      ZOIE LLC is, was and at all relevant times has been, an “employer” in an “industry

 affecting commerce” within the meaning of Sections 3(5), (11) and (12) of ERISA, 29 U.S.C. §§

 1002(5), (11) and (12), and of §§ 2(2), (6) and (7) of the Labor-Management Relations Act of 1947

 (“LMRA”), as amended, 29 U.S.C. §§ 152(2), (6) and (7).

                                     Jurisdiction and Venue

        9.      This Court has jurisdiction over Plaintiffs’ claims by virtue of Sections 502(a)(3)

 and 515 of ERISA, 29 U.S.C. § 1132(a)(3) and 1145, and pursuant to § 301(a) and (c) of the

 LMRA, 29 U.S.C. § 185(a) and (c).

        10.     This Court has personal jurisdiction over Defendant pursuant to ERISA § 502(e),

 29 U.S.C. § 1132(e), and § 301(c) of the LMRA, 29 U.S.C. § 185(c).
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        11.     Venue is proper in this Court pursuant to ERISA Section 502(e)(2), 29 U.S.C. §

1132(e)(2), and § 301(a) of the LMRA, 29 U.S.C. § 185(a).



                                            COUNT I

                                   (AUDIT LIABILITY DUE)

    (CENTRAL ILLINOIS CARPENTERS HEALTH AND WELFARE TRUST FUND)

        COMES NOW Plaintiff Central Illinois Carpenters Health and Welfare Trust Fund, and

states as follows for Count I of its Complaint against Defendant ZOIE LLC:

        12.     Welfare Fund restates and reincorporates paragraphs 1 through 11 of its Complaint

as if fully set forth herein.

        13.     At all times relevant to this Complaint, Defendant has been signatory to a

“Recognition Agreement and Adoption of all Collective Bargaining Agreements to Which the

Southern Region of the Chicago Regional Council of Carpenters is a Party” (“Recognition

Agreement”). A true, accurate and correct copy of the Recognition Agreement is attached hereto

as Exhibit A.

        14.     Pursuant to Exhibit A, ZOIE LLC agreed:

                …to be bound by and observe the terms and conditions of all current
                collective bargaining agreements to which the REGIONAL
                COUNCIL is a party, including but not limited to, the two (2)
                August 1, 2016, through April 30, 2021 Master Agreements, titled
                “Two (2) Agreements Between The Associated General Contractors
                of Illinois and The United Brotherhood of Carpenters and Joiners of
                America, commonly referred to as the Heavy and Highway
                Construction Agreement and the Diving Agreement.

        15.     Pursuant to Exhibit A, ZOIE LLC further agreed:

                …to be bound by and observe the terms and conditions of any and
                all successor agreements negotiated by the REGIONAL COUNCIL
                covering all employees performing carpentry work, unless the
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                EMPLOYER provides the REGIONAL COUNCIL written notice
                of its intent to amend or terminate the current collective bargaining
                agreement or any successor agreement at least sixty (60) days, but
                not more than ninety (90) days prior to said agreement’s expiration
                date.

        16.     Pursuant Article 10.B of the “Master Agreement” referred to in Exhibit A, ZOIE

 LLC agreed “that all Pension, Annuity and Health and Welfare contributions are to be made in

 accordance with the applicable Wage Addendum on behalf of and for all hours worked by persons

 covered by this Agreement.” The Master Agreement is attached as Exhibit B.

        17.     Pursuant Article 10.B of the “Master Agreement,” ZOIE LLC agreed “…to be

 bound by the terms of such Trust Agreements as they now exist and as they may hereafter be

 amended, as if the terms of such Agreements were fully set forth herein.”

        18.     Pursuant Article 10.B of the “Master Agreement,” ZOIE LLC agreed it

                …understands and acknowledges that the Trustees of those Funds
                have the right to make reasonable rules relating to the payment of
                fringe benefit contributions and pertaining to their rights and
                remedies against employers who are delinquent in making payment
                of such contributions to the Funds. The Employer agrees to be bound
                by such rules as currently exist or may from time to time be
                established or amended.

       19.      Pursuant Article 10.B of the “Master Agreement,” ZOIE LLC agreed, “Payment of

Annuity, Pension and/or Health and Welfare contributions for an employee’s work in each locality

shall be made to such funds and in such amounts as are identified in the applicable wage addendum

in the locality where the work is performed…”

       20.      ZOIE LLC employs and/or has employed individuals pursuant to said Heavy and

Highway Construction “Master Agreement” to           perform on-site construction work within the

territorial jurisdiction of the Regional Council falling within the craft jurisdiction of the United

Brotherhood of Carpenters and Joiners of America (“UBCJA”).

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       21.      Pursuant to § 515 of ERISA, 29 U.S.C. § 1145, ZOIE LLC is required to make

contributions to Welfare Fund and Pension Fund in accordance with the terms and conditions of the

CBA’s and/or the terms of the plans establishing Welfare Fund.

       22.      ZOIE LLC is required to pay health and welfare contributions, as well as dues, dues

check-off and other contractually-required contributions, at the hourly rates and in the amounts

negotiated by Regional Council in the applicable Regional Council collective bargaining

agreement(s) and Wage Addendums.

       23.      Pursuant to ERISA, the CBA, and the policies adopted by Welfare Fund’s Trustees,

in the event ZOIE LLC does not timely report and pay contributions, ZOIE LLC is liable for

Liquidated Damages and interest. See, Exhibit C, pp.4-5.

       24.      During 2020 Welfare Fund audited ZOIE LLC for the period of March 1, 2018 to

December 31, 2019. A true, accurate and correct copy of the audit is attached hereto as Exhibit D.

       25.      The audit resulted in a finding of $47,470.85 due to Welfare Fund and those funds

on behalf of which Welfare Fund acts as collection agent (“Delinquency”).

       26.      As a result of the Delinquency, ZOIE LLC is liable for interest in the amount of

$10,887.11 as set forth in the Audit. See also, Exhibit D.

       27.      As a result of the Delinquency, ZOIE LLC is liable for Liquidated Damages in the

amount of $9,494.31 as set forth in the Audit. See, Exhibit D.

        28.     Pursuant to ERISA, the CBA, and the policies adopted by Welfare Fund’s Trustees,

 as a result of the Delinquency, ZOIE LLC is liable for examination costs in the amount of

 $1,480.10. See, Exhibits G and H.




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       29.      Pursuant to ERISA, the CBA, and the policies adopted by Welfare Fund’s Trustees,

as a result of the Delinquency, ZOIE LLC is liable for Welfare Fund’s attorneys’ fees and costs.

See, Exhibit B, Article 10.B, p. 14 (“In the event the Union and/or Trustees are required to file

suit… and a judgment is rendered in favor of the Union and/or Trustees, as part of said judgment, a

reasonable amount of the attorney's fees and court cost shall be awarded them by the court.”)

       30.      Demand was made upon ZOIE LLC for payment of the foregoing amounts, but

ZOIE LLC failed and refused to pay. See, Exhibits G and H.

       31.      As a result of the actions complained of herein, Welfare Fund has been harmed.

        WHEREFORE, Plaintiff Central Illinois Carpenters Health and Welfare Trust Fund

 respectfully prays that the Court:

               (a)     Enter Judgment for Welfare Fund and against Defendant ZOIE LLC.

               (b)     Enter an Order awarding Welfare Fund $47,470.85 in delinquent fringe
                       benefit contributions.

               (c)     Enter an Order awarding Welfare Fund interest in the amount of $10,887.11.

               (d)     Enter an Order awarding Welfare Fund Liquidated Damages in the amount
                       of $9,494.31.

               (e)     Enter an Order awarding Welfare Fund audit costs in the amount of
                       $1,480.10.

               (f)     Enter an Order awarding Welfare Fund its attorneys’ fees and costs in an
                       amount to be proven at trial.

               (g)     Enter Orders for such further relief as the Court deems proper in the
                       premises.




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                                             COUNT II

                                    (AUDIT LIABILITY DUE)

                       (CARPENTERS PENSION FUND OF ILLINOIS)

         COMES NOW Plaintiff, Carpenters Pension Fund of Illinois, and states as follows

 for Count II of its Complaint against Defendant ZOIE LLC:

       32.       Pension Fund restates and reincorporates paragraphs 1 through 11 and 12 through

31 of Count I of its Complaint as if fully set forth herein.

       33.       ZOIE LLC is required to pay pension contributions, at the hourly rates negotiated

by Regional Council in the applicable Regional Council collective bargaining agreement(s) and

Wage Addendums.

       34.       Pursuant to ERISA, the CBA, and the policies adopted by Pension Fund’s Trustees,

in the event ZOIE LLC does not timely report and pay contributions, ZOIE LLC is liable for

Liquidated Damages. See, Exhibit E, pp.2-3.

       35.       During 2020 Pension Fund audited ZOIE LLC for the period of March 1, 2018 to

December 31, 2019. A true, accurate and correct copy of the audit is attached hereto as Exhibit F.

       36.       The audit resulted in a finding of $32,497.38 due to Pension Fund (“Delinquency”).

       37.       As a result of the Delinquency, ZOIE LLC is liable for Interest in the amount of

$8,278.66 as set forth in the Audit.

       38.       Pursuant to ERISA, Pension Fund is entitled to an award of the greater of interest,

or Liquidated Damages in an amount not to exceed twenty percent (20%) of the Delinquency.

Pension Fund is entitled to Liquidated Damages in the amount of $6,499.48.

       39.       Pursuant to ERISA, the CBA, and the policies adopted by Welfare Fund’s Trustees,

as a result of the Delinquency, ZOIE LLC is liable for examination costs in the amount of

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$1,480.10. See, Exhibits G and H.

          40.    Pursuant to ERISA, the CBA, and the policies adopted by Welfare Fund’s Trustees,

as a result of the Delinquency, ZOIE LLC is liable for Welfare Fund’s attorneys’ fees and costs.

See, Exhibit B, Article 10.B, p. 14 (“In the event the Union and/or Trustees are required to file

suit… and a judgment is rendered in favor of the Union and/or Trustees, as part of said judgment,

a reasonable amount of the attorney's fees and court cost shall be awarded them by the court.”)

          41.    Demand was made upon ZOIE LLC for payment of the foregoing amounts,

but ZOIE LLC failed and refused to pay. See, Exhibits G and H.

          42.    As a result of the actions complained of herein, Welfare Fund has been harmed.

WHEREFORE, Plaintiff Carpenters Pension Fund of Illinois respectfully prays that the

 Court:

                (a)    Enter Judgment for Pension Fund and against Defendant ZOIE LLC.

                (b)    Enter an Order awarding Pension Fund $32,497.38 in delinquent fringe
                       benefit contributions.

                (c)    Enter an Order awarding Pension Fund Interest in the amount of $8,278.66.

                (d)    Enter an Order awarding Pension Fund Liquidated Damages in the amount
                       of $6,499.48.

                (e)    Enter an Order awarding Welfare Fund audit costs in the amount of
                       $1,480.10.

                (f)    Enter an Order awarding Pension Fund its attorneys’ fees and costs in an
                       amount to be proven at trial.

                (f)    Enter Orders for such further relief as the Court deems proper in the
                       premises.




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                                       Respectfully Submitted,

                                       CAVANAGH & O’HARA LLP


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